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                            U NITED STA TES DISTR IC T CO UR T
                            SOUTH ERN DISTRICT OF FLO RIDA
                                    M IAM IDIVISION

                                CASE NO.1:09-M D-02036-JLK


   IN RE: CHECKING ACCOUNT
   O VERDR AFT LITIGATION
   M DL N o.2036



   TH IS DOCUM ENT RELATES TO :
   FIRST TRANCHE ACTIO NS

    Garcia,etal.v.Wachovia Bank,N A.
    S.D.Fla.Case No.1:08-cv-22463-.h1.11

   Spears-llaymond v.Wachovia lln,k,N A.
   S.l3.Fla.Case No.1:09-cv-21680-JLK
   N .D.Cal.CaseNo.3:08-cv-4610


         ORDER AND OPINION DENYING M OTION TO DISM ISS ALL CLAIM S OF
             UNNAM ED CLASS M EM BERS IN FAVOR OF ARBITR ATION

          THIS CAUSE is before the Courtupon Defendant's M otion to Dism iss AllClaim s of

   UrmamedClassM embersin FavorofArbitration (DE 4183),tsledJune10,2015.TheCourthas
   carefully considered the m otion,response,reply,supplementalauthority,and the docum ents

   attached to each,aswellas the oralargum entofcounsel. The Courtdeniesthe m otion forthe

   reasonsexplained morefully below.

                                1. RELEVANT BACKG ROUND

          A.     The A rbitration Provision.

          Each W achovia account w as governed by a D eposit Agreem ent that included an

   arbitration clause, SeeClassArbitration M otion,p.1.The Ssmaterialtermsrem ained consistent

   overtherelevanttimeperiod.'' Id.at3n.2;seealso Decl.ofB.Arrowood,DE 3292-1at! 6.
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   The clause is iiperm issive,rather than m andatory,allowing eitherparty to requestarbitration.''

   SeeOrderDenyingArb.,DE 3415 at2;alsoDep.Agreement(silfeitheryou orwerequest,any
   disputeorclaim concerning youraccountoryourrelationship with usw illbedecided by binding

   arbitration ...''),DE 3292-15at! 25. Thus,foraparty to invokeitsarbitrationrights,itmust
   make a timely requestto arbitrate. See DE 2224 at2 (holding that under the permissive
    arbitration clauses,W achovia musthave lipromptly demandledqto arbitrate'). Asthe Ninth
    Circuitnoted in rejecting W ellsFargo'sattemptto compelthemembersofa certified classto
    arbitrate,such a perm issive arbitration clause iistands in contrastto the mandatory arbitration

    provision found in m any consum ercontracts,such astheprovision in Concepcion.b' Gutierrez v.

    Wells Fargo Bank, 704 F.3d 712, 720 (9th Cir. 2012) (citing AT&T Mobility LLC v.
    Concepcion,563U.S.333(2011)),
           B.      W gqhovia'sPre-concepcion PursuitofLitigation.

           ()n November 6,2009,this Courtdirected W achovia to file aIl'km erits and non-m erits

    motions,''includingm otionsto cornpelarbitration.SeeDE 134;also Garcia v.Wachovia Corp.,

    699 F.3d 1273,1276 (11th Cir.2012). Nevertheless,W achovia did not invoke arbitration,
    lnstead,W achovia and otherbanksm oved to dismiss,a m otion which this Courtdenied forthe

    mostpart.SeeDE 217,305.

           ln April2010,thisCourtallbrded W achovia yetanotheropportunity to invoke arbitration

    by directingthe Bank,ifitso chose,to move to compel. SeeDE 360. The Bank responded that
    itdid notintend to seek arbitration exceptpossibly as to one recently added Plaintiff.1 See DE

    387; also Garcia, 699 F.3d at             On M ay 21, 2010, W achovia filed its answ ers and


    lW achovia asserted a vague kireservation ofrights''as to iiarbitration-related issues,''butdid not
    state thatitintended pursue arbitration. D E 387. This itreservation ofrights''contlicted w ith this
    Court'sorder.SeeDE 360 ('ûanypartywishingtoeitherjoinin orfileasupplementalmotion to
    compelarbitrationshalldosoonthetimeframesetforthherein'').
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    affrmative defensesto the am ended complaints. See DE 503,504. Soon thereafter,the Court

    opened discovery and established litigation deadlines. See DE 463,891. Substantiallitigation

    ensued,duringwhichW achovialitigatedthecaseasamajorclassaction:
          I7ormore than a year,the parties prepared theircases fortrial. They engaged in
          extensive discovery: they served and answered interrogatories, produced
          approxim ately 900,000 pagesofdiscovery docum ents,and took approxim ately 20
          depositions,The partiesalso litigated severalmotionsbeforethedistrictcourt.

    Garcia,699F.3dat1276;seealsoDE 3415at5(summarizingtheSlthousandsofhours''spentby
    the parties,and substantialtim e spentby the Court;and lbund thatifthe Bank tim ely sought

    arbitration,kiverylittleofthisjudicialeffortwouldhavebeenexpended'').
           C.     W achovia's Post-concepcion C onduct.

           OnApril29,2011,justafterConcepcionwaspublished,W achoviafirstsoughttocompel
    arbitration against the named Plaintiffs. See DE 1384. The Bank claimed that seeking

    arbitration prior to Concepcion would have been futile. This Coud (and subsequently the
    Eleventh Circuit)rejected thisargumentand foundthatDefendant,becauseofitsown strategic
    litigation decisionsand conduct,waived any rightitmay have once had to com pelarbitration.

    DE 3415 at5-9;Garcia,699 F.3d at1277-80. Thatm otion and subsequentappealdelayed this

    caseforayear-and-a-half.

           Following the Eleventh Circuit's mandate, W achovia once again fully embraced the

    litigation machinery. See,e.g.,DE 3191,3193,3194 (agreeing to revised scheduling and class
    certification deadlines), 3283, 3284, 3285, 3286, 3288, 3289, 3290 (opposing Plaintiffs'
    amendedmotionsforclasscertificationandmovingtostrikecertainevidence).
           Several m onths afler rem and, D efendant m oved to enforce arbitration against the

    proposed classcs which this Courtdenied on A pril8,2013. See DE 3292,3415. O n appeal,the

    EleventhCircuitvacated thatdecision,heldthisCourtlackedjurisdiction toresolvethequestion,
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    and the named plaintiffs lacked standing to defend thatfinding on appeal. See Spears-Haymond

    v.WellsFargoBank,N.A.,780F.3d 1031,1034(11thCir.2015).
           Following the Eleventh Circuit's m andate in Spears-Haymond,and with the benefitof

    oralargument,thisCourtgranted Plaintiffs'M otion forClassCertifcation on June 8,2015.See

    DE 4180. On June 10,2015,W achovia filed anotherarbitration m otion as to the absentclass

    mem bers.SeeDE 4183. On June 22,2015,W achovia filed aM otion forReconsideration ofthe

    ClassCertification Order. SeeDE 4186. On June25,2015,PlaintiffsfiledtheirM otion to Defer

    Briefing and Ruling on W achovia'sClassArbitration M otion,which the Courtgranted on June

    29,2015. See D E 4189,4193.

           On August21,2015,thisCourtdenied reconsideration. See DE 4211. Defendantthen

    petitioned the Eleventh Circuitforreview pursuantto Rule 23(9. On December1,2015,the
    Eleventh Circuit denied the petition. See DE 4253. Thereaher, Plaintiffs sought leave to

    conduct limited, arbitration-specific discovery prior to responding to the Class Arbitration

    M otion,which this Courtgranted. See DE 4271,4282. Following discovery,Plaintiffs tsled

    theiropposition totheClassArbitration M otion.SeeDE 4294.

                                           II. DISCU SSIO N

           In orderto resolve the ClassArbitration M otion,thisCourtmustfirstevaluate the scope

    ofthe Eleventh Circuit'sdecision in Spears-liaymond. W achovia argues thatSpears-Haymond

    bars the unnam ed class mem bers from advancing the argument that the Bank waived its

    arbitrationrights. See DE 4183 at7-8. Conversely,PlaintiffsarguethatSpears-blaymond stands

    forthe proposition thata decision ,
                                      asto classarbitration is one thatis appropriately resolved only

    after class certification. See D E 4294 at4-5. The Courtagrees w ith Plaintiffs.




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          In Spears-liaymond,the Eleventh Circuitheld thatbecause the class had notyetbeen

   certified,therewasnojusticiablecontroversy betweentheBank andtheunnamed classmembers
   andthusthisCourtlackedjurisdictiontodecidewhethertheirclaimsweresubjecttoarbitration.
   780 F,3d at1037. Spears-Haymond did nothold thata defendantcan never waivc arbitration

   rights as to class mem bers, or that a defendant's pre-certifcation litigation activities are

   irrelevantto the waiverinquiry. The Eleventh Circuitdid notaddressthekey question - whether

   Defendant waived its arbitration rights as to the unnam ed class members. Spears-llaymond

    expressly leftthe resolution ofthe unnam ed class memberwaiverissue for another day. 780

    F.3d at1039 (siw e can conceiveofnoreason why the unnamed putative classmemberscould
    notseek preclusive effectforW ellsFargo'swaiverofitsrightto compelarbitration oftheirown

    accord ifand when they become partof the case''). Thus,now thatthe classes have been
    certified,the unnamed classmembersare entitled to arguethatDefendanthaswaived itsrightto

    enforcearbitration.

          A.      W achovia W aived lts Arbitration Riahts asto the ClassM em bers.

           TheEleventh Circuithassetforth the following testforwaiverofarbitration rights:

          iiFirst,gcourts)decide if,lznderthe totality ofthe circumstances,the party has
          acted inconsistently with the arbitration right.''Ivax Corp.v.#.Braun t?/-Am.,
          Inc.,286 F.3d 1309,13l5-l6(11th Cir.2002)(internalquotationmarksomitted).
          A party actsinconsistently with the arbitration rightwhen theparty ''substantially
          invokes the litigation machinery prior to demanding arbitration.'' S & S
           Contractors,906 F.2d at1514 (internalquotation marksand alterationsomitted).
           tilsjecond,welook to seewhether,by (acting inconsistentlywith the arbitration
           rightq,thatparty hasin some way prejudiced the otherparty.''Ivax Ct?rll.,286
           17.3d at1316 (internalquotation marksomitted).To determinewhethertheother
           partyhasbeenprejudiced,klwemayconsiderthelengthofdelaj in demanding
           arbitration and the expense incurred by that party from partlcipating in the
           litigation process.''S drH Contractors,906 F.2d at1514.




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    Garcia, 699 F.3d at 1277. This Court and the Eleventh Circuit previously held the nam ed

    Plaintiffs satissed the waiver test. The Court now applies the sam e test to the facts and

    circum stancesofthe classmem bers.

                  1.     The Bank A cted lnconsistently W ith A ny Rightto A rbitrate.
           ltiswell-established that active and voluntary participation in litigation is inconsistent

    with arbitration. See S drH,906 F.2d at 1514. This retlects Congress' intent that arbitrable

    disputesbem oved iioutofcourtand into arbitration asquickly and easily aspossible-''M osesff

    Cone M emorialH osp. v,Mercury Constr.Corp.,460U.S.1,22 (1983). Among the FAA'S

    centralpurposesisto encourageefficientand speedy disputeresolution. AT&T M obility LLC v.

    Concepcion,563 U.S.333,344-45 (2011);also Dean WitterReynolds,lnc.v.Byrd,470 U.S.
    213,220 (1985) (recognizing thatlkthe costlinessand delays oflitigation ...can be largely
    eliminated by (jarbitration''). Thisprinciple ofthe FAA would obviously be undermined if
    W achoviawere allowed to seek arbitration afteravailing itselfofyearsofthejudicialprocess,
    See S drS,906 F.2d at 1514 (holding thata party ordinarily waivesrightto arbitrate ifit
    kiisubstantially invokgesjthelitigationmachinery'priortodemandingarbitration'')(quoting#.C
    Ernst,Inc.v.Manhattan Constr.t7t).,559F.2d268,269(5th Cir.1977));alsoGarcia,699F.3d
    at1277.Thislogicapplieswith equalforce to the class,asitdid to the nam ed Plaintiffs.

           Asthe Courtand partiesare wellaware,these caseshave been litigated throughouttheir

    eight-year duration as a major class action,not as a claim over a few hundred dollars of
    Plaintiffs'overdraftfees. Although the unnamed classm embersobtained officialSiparty''status

    only when the certification order was entered,their class claim s have driven these cases since

    they w ere filed. Throughout the litigation, W achovia's activities have been geared tow ard

    defeating both theclaim softhenam ed Plaintiffsand thoseofthe unnamed classmem bers. See,

    e.g.,W achovia's2010RequestsforProductionNo.36 (requestingligajlldocumentsthatreferor
                                                  6
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   relate to any m ethod ofcomputation orquantification ofthe alleged damages sustained by any

   memberofthe putative class,or the putative class as a whole,as a resultof the conduct and

   omissions alleged in the Complaint''); W achovia's 2010 Requests for Production No. 38
   (requesting kialldocumentsthatsupportthefactualbasesforthe claimsin theComplainf),DE
   4294-9. M any ofthe Bank's actions-such asthe motion to dismiss,expertdiscovery,Daubert

   motions,and opposition to class certification-were geared toward defeating the claims of the

   class. Unquestionably,the vastbulk oflitigation activity would nothave occurred ifonly the

    modestclaim s of Plaintiffs were atstake. Thus,Defendant's conductearlierin this case was

    inconsistentwith an intentto arbitratetheclaimsatissue.
           As summ arized by the Eleventh Circuitin Garcia,W achovia's activitieshave been kifar

    m ore substantial''than the litigation conductin S d:S,where the defendantwasfound to have

    waived arbitration. Garcias699 1;'.3d at 1277-78. W achovia'sextensive pre-classcertification

    use ofthe litigation machinery wasapplicableto both theclaim softhe nam ed Plaintiffsand the

    class. W achovia'ssuggestion thattheseeffortscould only have been concerned with the named

    Plaintif-
            fs,because the unnamed classm em berswerenotyetparties,is implausible and has been

    repeatedly rejected in similarcontexts. E.g.,ln re Cox,790 F.3d 1112 (10th Cir.2015);ln re
    Ciligroup,lnc.,376 F.3d 23 (1stCir.2004))Edwardsv.FirstAm.Corp.,289 F.R.D.296 (C,D.
    Cal.2012);In re Currency Conversion Fee AntitrustLitig.,361F.Supp.2d 237 (S.D.
                                                                                 N .Y.
    2005);Inre UniversalServ.Fund Tel.Billing PracticesLitig.,320 F.Supp.2d 1135 (D.Kan.
    2004);Milbourne v.JRK ResidentialAm.,LLC,2016 W L 1071564 (E.D.Va.Mar.15,2016);
    Kingsbury v.US.C/rtrpr?/3/pt?r,LL(7,2012 W L 2775022 (C.D.Cal.June 29,2012'h;Tennyson v.
    Santa Fe Dealershl
                     p Acquisition .
                                   J/ lnc.,364 P.3d 1273 (N.M .Ct.App.2015);Elliottv.KB




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    Home N.C.,lnc.,752 S.E.2d 694 (N.C.Ct.App.2013),cert.denied,135 S.Ct.494 (2014);
    Mèrgan p.AT&T WirelessServs.,2013W L 5034436(Ca1.Ct.App.Sept.13,20l3).
           ln In re Cbx,forexample,the districtcourtheld thata defendantwaived its arbitration

    rightsasto classmem bersbased,in part,on itspre-certiication litigation. 790 F.3d at1115. On

    appeal,the defendantargued thatitspre-certification activitiescould notbedeemed inconsistent

    with its class m ember arbitration rights because such rights did not arise untilthe class was

    certified. 1d.at 1119. The Tenth Circuitdisagreed,finding the defendant's position to be kian

    improper attemptto artificially narrow the scope of waiver.'' Id The courtfurtherheld that

    because the defendantknew ofthe existence of the class m em ber arbitration clauses when it

    iûengaged in extensive discovery'' and could have compelled arbitration against the named

    plaintifforatleastinvoked arbitration againstthe absentclassmembersatan earlierstagein the

    case,waiverhad occurred asto the unnamed classmem bers.Id

           Similarly,in In re Citigroup,the courtrejected the defendant's argument that only
    litigation activities taking place after a class is certified may be considered in determining

    whetherthe defendanthas waived arbitration rights asto the class m embers. 376 F.3d at27.

    The courtfound thatall litigation activities since the filing of the com plaintw ere relevantto a

    classw aiver analysis,explaining'
                                    .

           W hen adefendanthasfailed to timely invoke itsrights,and during thatdelay,the
           litigationhasproceededinto discovery,itcannot,particularly in thecontextofa
           class action,claim thatthe classmemberssubjectto arbitration willnotsuffer
           prejudice. M oreover,we mustevaluate this argumentin the contextof the
           entireIitigation,notapartofit.
    1d.at28(emphasisadded).
           ln In re Universal, several defendants m oved to com pel arbitration of'certain class

    members' claims after certification was granted. 320 F.Supp.2d at 1137-38. Because the

    defendants w aited m any m onths after the nam ed plaintiff was added to the case-allthe w hile
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    invoking the litigation m achinery in an attem ptto secure a victory on the m erits-the courtfound

    they had waived arbitration and explicitly rejected the argumentthatwaiver as to a named
    plaintiffwasnotrelevantto theclass. Id at1140-42 (holdingthat(i)defendantsknew from the
    outsetthecasewasaclassactionandthenamedplaintiffintendedtorepresenttheclass,(ii)Sithe
    court's waiver analysis applies with equalforce to the unnamed class members,''and (iii)
    defendants'motiontoarbitratewiththeclasswasaSiwoefullybelated secondbiteattheapple'').
           Likewise,shortly afterthe courtcertified a class in Kingsbury the defendantm oved to

    compelarbitration againstthenam ed plaintiffand theabsentclassmem bers. 2012 W L 2775022

    at #1-2, Though ithad voluntarily litigated the case forover fouryears,the defendantargued

    thatitcould nothave invoked arbitration earlier because the class m embers had only recently

    been made parties. Id.at*6. The coul'
                                        trejected thisargument,noting thatitkiignores the
    realitiesofclass-action litigation''and wasunderm ined by the factthatthedefendantknew since

    the inception ofthe case thatthe rights and interests ofboth the nam ed plaintiff'and the class

    were atstake.1d. Asthecoul'texplained:

           to accept this argum ent would be to condone gam esm anship in the! class
           certification process, A defendantcould waitin theweedsand delay asserting its
           arbitration rights. Itcould file motionsto dism iss,litigate the named plaintiffs
           legal theories,and oppose class certification m otions. If and when a class is
           finally certified,the defendantcould sim ply assertitsarbitration rightsand defeat
           certification of the previously-certified class. ln the interests of the fair and
           eftscientadministrationofjustice,theCourtcannotacceptgdefendant'sjposition.
    ld at*7.

           Stateappellatecourtsareinaccord.E.g.,Elliott,752 S.E.2dat341(tsndingwaiverasto
    class m em bers because defendant iihad know ledge that the nam ed Plaintiffs were litigating the

    Claimsasa classaction from the outsetand were incurring substantialcostswhile doing so'');
    Tennyson,364 P.3d at1279 (findingwaiverastoclassmemberswhere defendantavailed itself
    ofiidiscovery rulesthatmightnototherwise beavailable in arbitration''and liaccessedjudicial
                                                    9
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    processesby filingm ultiple dispositive motionsbelow''despite the factthatitsarbitration clause

    wasin effectfrom theinception of'thelitigation);M organ,2013 W L 503436 at*7 (holding the
    Sicriticalfocus''in the waiver inquiry to be defendant's litigation conductand thatdefendant's

    pursuitofpre-certification classdiscovery éiwasm anifestly incompatible with adesireto engage

    inarbitrationastothenamedplaintiffsandtheputativeclassmembers'')(emphasisinoriginal).
           The courts'collective guidance is simple:when a defendanthas a rightto arbitrate it

    iismust do al1 it could reasonably have been expected to do to make the earliestfeasible
    determinationofwhetherto proceedjudicially orbyarbitration.''' InreCox,790 F.3d atl119-
    20 (emphasis added and quoting Stud drComponents,Inc.v.American Eagle Design Build
    Studios,LIC7,588F.3d 963,969 (8th Cir.2009)). BecauseW achovia chooseto try to win the
    case on the m erits by filing dispositive motions and obtaining discovery,a11 of which were

    geared primarily to defeating the claim softhe class,itcannotnow invoke arbitration againstthe

    unnam ed classmem bers.

           lndeed,isltlo give . . .   a second bite at the very questions presented to the court for

    disposition squarely confronts the policy that arbitration may not be used as a strategy to

    manipulatethelegalprocess.''NationalFound forCancerResearch v.W.G.Edwards(t7Sons,
    A c.,82l F.2d 772, 776 (D.C.Cir.1987);see also Jones Motor Co.,                     Chauffeurs,
    Teamstersand Hel
                   persLocalUnion No.633,67lF.2d 38,43 (1stCir.l982)(Breyer,J.)(i#to
    require thatparties go to arbitration despite their having advanced so far in coul'tproceedings

    beforeseeking arbitration would often beunfair,foritwould effectively allow a party sensing an

    adverse courtdecision a second chance in another forum''). Courts do noti'sanction such
    behavior;to do so would only encourage gamesmanship ofthistype in thefuture,resulting in the




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    furtherwaste ofjudicialresources.'' Edwards,289 F.R.D.at307;also Kingsbury,2012 W L
    2775022,*8;Elliott,752 S.E.2d at703.

            Since the stal'
                          tofthis litigation,W achovia has known these cases were styled as class

    actionsandboththenamedPlaintiffsand unnamedclassmemberswere subjecttoapermissive
    arbitration clause. A timely m otion to com pelarbitration asto thenam ed Plaintiffkw ould likely

    have had the effectofprecluding a class action. This is nota speculative point. ln instances

    where defendantsfiled forarbitration in accordance with thisCourt'sdeadlines,theclaim softhe

    classwere upended. E.g.,Barras p.Branch Banking (#rTrustCo.,685 F.3d 1269 (11th Cir.
    20l2);Hough v.RegionsFin.Corp.,672 F.3d 1224 (11th Cir.2012);Buy ngton v.SunTrust
    Banks,lnc.,459 Fed.Appx.855 (11th Cir.2012);Given v.M &T Bank,2013 W L l1319399
    (S.D.Fla.Aug.6,2013);OrderCompelling Arbitration in Gordon v.Branch Banking & Trust
    t%.,CaseNo.1;09-cv-23067-JLK.(S.D.Fla.Mar.12,2013),DE 3333.In onecase,therewas
    not even an appeal after this Courtordered the case to arbitration. See Order Com pelling

    A rbitration in G ulley v. Huntington Bancshares,lnc.,CaseNo.1:10-cv-23514-JLK (S.D.Fla.

    M ay25,2010),DE 514. lmportantly,in eachofthesecases,thepartiesandtheCoul'
                                                                             twereable
    to avoid m otions to dism iss,years of discovery and depositions, the use of experts, and even

    classcertification. W achovia'sdecision to undertake these litigation activities-ratherthan m ove
     t-
      orarbitration-wasinconsistentwith an intentto arbitrate againstthec1ass.2



    'TheBank arguesthatitdid provide earliernoticeofitsarbitration defense,both in itsAnswers
     (DE 503, 504) which reference iiplaintiffs' agreements to resolve these disputes through
    arbitration''and a 2010 courtfiling stating that:%ûW achovia does notknow w hether arbitration-
    related issues m ay arise in this proceeding in any other context, or w ith respect to any other
    accountholders,and W achovia does not w aive its rights w ith respectto such issues or persons.''
    DE 387 at 2. Such loosely-worded i'reservations of rights''do not excuse extensive litigation
    activitiesthatare inconsistentwith such rights. In re Citigroup,376 F.3d at27 (finding that
     litigation activities w hich occur after a defendant's m ention of arbitration butbefore defendant
    movcstocompelareproperlyconsideredinthewaiverinquiry).
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           A fter D efendant chose litigation, rather than arbitration, the parties and this Court

    devoted enormousam ountsoftim e and resourcesto cases,which were litigated in every way as

    majorclassactions. W achoviacannotnow rely on theunnamed classmembers'lack ofofficial
    iiparty''status until2015 to avoid the Court's rulings now thatitm ay regretits choice to pursue

    litigation. Cancer Research,821 F.2d at776;see also Allied Sanitation,Inc.v.Waste M gmt.

    Holdings 1c.,97F.Supp.2d 320,331(E.D.N.Y.2000)(if;iacourtisfaced with acasewhere
    the party attem pting to invoke arbitration wastruly responsible forseeking the proverbialsecond

    bite attheapple,itshould barthebite'');also Newberg on ClassActions,Vol.1,j 1:5s12-16
    (5thed.2011).lftheCourtnow orderedarbitrationfortheclass,a1lofthetimeandeffortofthe
    parties,counsel,this Court,and the Eleventh Circuitthathasbeen devoted to thiscasewillhave

    been almostentirely wasted. The resultwould be gross inefficiency. As such,Defendant's

    position contlictswith one the mostfundam entaltenetsunderlying class action practice and the

    FAA. #.g.,American Pipe drConstr.Co.v.Utah,414 U.S,538,553 (1974)(notingprincipal
    purpose behind Rule 23 to promote k'efficiency and economy oflitigation'');AT&T Mobility,
    LLC v.Concepcion.563U.S.333,343 (recognizing centralpurposeofFAA and arbitration in
    generaltostreamlinedisputes).
           W achovia's suggestion that this Court should analyze the waiver issue in a vacuum ,

    withoutconsidering the Bank's pre-certification attempts to win thiscase on the merits,is not

    supported by the law and is antitheticalto both the basic purpose,and to the practicalrealities,of

    classactionsunderRule 23. To acceptW achovia'sposition would be to renderthe conceptof

    waiverinthe classaction context:san empty shell.'' Morewitzv.WestofEngland Ship Owners
    Mut.Prot.drlndem.adA'A''n(Luxembourg),62F.3d 1356,1366(11th Cir,1995).ThisCourtwill
    notignore the im portance ofRule 23.


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                  2.     SignificantPrejudiceW illResultlfW achoviaIsAllowed toArbitrate.
           Ordering the class to arbitrate atthis stage would cause substantialprejudice. The
    Eleventh Circuithasrecognizedprejudice:(1)'llwheretheparty seeking arbitration allowsthe
    opposing party to undergo the types of litigation expenses that arbitration was designed to

    alleviate,'''Garcia,699 F.3d at1278(quotingM orewitz,62F.3dat1366),and(2)where$11(tlhe
    useofpre-trialdiscoveryproceduresbyapartyseekingarbitrationmaysufficientlyprejudicethe
    legal position of an opposing party so as to constitute a w aiver of the party's right to

    arbitration.'''Garcia,699F.3dat1278(quotingStone,898F.2dat1543).TheEleventh Circuit
    already tbund both situationshere as to the nam ed Plaintiffsbecause they expended substantial

    time,effort,and m oney conducting the litigation and W achovia benefited from discovery that

    would havebeen unavailablein arbitration.1d.

           Thefindingsofprejudice in Garcia apply equally in the contextoftheunnamed class
    members now. First,class counselexpended substantialtime,effort,and m oney litigating on

    behalfofboth the nam ed Plaintiffsand the unnamed classm embers,expenseswhich would not

    have been incurred had W achovia timely pursued its arbitration rights. Garcia,699 F.3d at

     1276, 1278. W achovia's argum ent thatthe unnam ed class m em bers them selves have not been

    prejudicedbecausethesefeesand expenseswereincurredpriortothem beingofficiallyaddedas
    partiesmissesthemark.3 Othercourtshavestressedthatitisappropriateto considernotjustthe
    prejudicetoclassmembers,butalsotothenamedplaintiffsand classcounsel. E.g.,In reCox,


    3 The class w ould be obligated t)
                                     o pay class counsel an appropriate fee from any recovery.
    Camden ICondo,Ass'n,Inc.v.Dunkle,946 F.2d 768,771(11th Cir.1991). The actualwork
    perform ed by class counselis a factorto be considered when determ ining the appropriate fee.
    AllapattahServs.,Inc.v.ExxonCtarr.,454 F.Supp.2d 1185,1202 (S.D.Fla.2006)(listingthe
    timeandlaborrequiredbyclasscounselasafactorindeterminingagpropriatefee).Theamount
    of such w ork has clim bed exponentially based on D efendant's litlgation activities. Thus,the
    classm ay wellbe required to pay fbrwork perform ed priorto classcertification.
                                                 13
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    790 F.3d at 1l18 (discussing the Slgreat expense''incurred by the named plaintift);In re
    Citigroup,376 F.3d at28(itthe waiverissuemustbeviewed through the lensof(defendant's)
    behaviorandthedetrimenttotheplaintiffsasaresultofthatbehavior'');Edwards,289F.R.D.at
    308 (finding prejudice because compelling class members to arbitrate would eliminate their
    opportunity to pursue claim s in a class action as well as wasting class counsel's time and

    expenses,based on defendant'sdelay);Tennyson,364 P.3d at 1279 (analyzing prejudice from
    ''the perspectiveofnamed plaintiffswho soughtto representabsentclassmembers''). As the
    North Carolina Supreme Courtfound in Elliottl

           class-action litigation requiresthenam ed Plaintiffsto incurexpenseslitigating the
           Claim son behalfofthe entire class,which the nam ed Plaintiffs in thiscase have
           done formore than three years.Allowing (the defendant)to compelarbitration
           w ith respect to the unnam ed class m em bers would render the nam ed Plaintiffs'
           effortspursuing the class Claims meaningless.(The defendantlhad knowledge
           thatthe named Plaintiffs were litigating the Claim s as a class action from the
           outsetand wereincuning s'ubstantialcostswhile doing so.
    752 S.E.2d at701. Because D efendant's efforts to derailthe class claim s overyears oflitigation

    increased the fees and expenses forPlaintiffsand the classexponentially,W achovia'sdelay in

    movingforarbitrationagainsttheindividualPlaintiffsdidprejudicetheclass.
           M oreover,the discovery that W achovia obtained when itwas actively participating in

    litigation willbenefitthe Bank in any futurearbitrationsinvolving unnam ed classfnembers. For

    instance,W achovia did extensive discovery of class damages expertArthur Olsen,including

    written production requests and a lengthy deposition. See DE 3288-17 (excerptsfrom Olsen
    deposition);DE 3290 at7 (W achovia acknowledging requesting work productfrom Olsen and
    taking his deposition). W achovia wasthus infonned asto how its own data could be used to
    calculate dam ages. See generall
                                   y D E 3288-17. This discovery,w hich would not have been

    available in arbitration,would be usefulin any future arbitration proceedings againstthe class

    members. W achovia also soughtinformation and docum entation regarding the evidence upon
                                                  14
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    which Plaintiffswillrely to prove theirclaims. See,e.g.,W achovia's RequestsforProduction

    No. 38 (requesting iiall documents that support the factual bases for the claims in the
    Complaint''). W achoviahasgained substantialbenefitsthrough thislitigation thatmay beused
    againsttheclassmem bersifthey are forced to arbitrate.

           W achovia's litigation activitiesoverseveralyearshave prejudiced the interestsofthe
    unnamedclassmembersinthesamewaytheEleventhCircuitfoundithadprejudicedthenamed
    Plaintiffs.Garcia,699F.3dat1279;alsoInreCox,790F.3dat1118(findingprejudicetoclass
    becausedefendantûitmadeampleuseofeverydiscovery device available''')(quoteomitted);In
    reCitigroup,376 F.3d at28.Accordingly,theCourtfindsthatW achovia haswaived any rightit

    m ayhaveoncehadto com peltheclassto arbitrate.

           B.     Certification ofa C lass D oesN otU ndo W achovia'sW aiver.

           W achovia's Class Arbitration M otion implicitly suggests that this Court's class

    certification order som ehow nullifies the Bank's prior waiver of its arbitration rights. Such a

    finding is inconsistentwith precedent from the Eleventh Circuiton this issue. The Eleventh

    Circuit has held that a party's waiver of its arbitration rights can be nullified in lim ited

    eircum stances,namely by the filing of an am ended complaintthat unexpectedly changes the

    scope ortheory ofthe plaintiff's claims,orby asserting new claims thatwere notpreviously a

    partofthe case. E.g.,Krinsk v.Sunln
                                      rustBanks,.
                                                Jnc.,654 F.3d 1194,1200 (11th Cir.2011);
    Colladov.J&G Transp.,lnc.,820F.3d 1256,1260-61(11thCir.2016).
           Krinsk m ade clear thata defendant's w aiver should not be nullifled,and there w illbe no

    revival ofarbitration rights,w hen the plaintiffm erely tlles an am ended com plaintthatdoes not

    unexpectedly expand the scope of the litigation. Id at 1203. Krinsk found the am ended

    com plaintin thatcase w as notdiim m aterial''because the new classdefinition:


                                                   15
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           greatly broadened the potential scope of this litigation by opening the door to
           thousands- ifnottensofthousands- ofnew classplaintiffsnotcontem plated in
           the originalclass definition by discarding the o1d definition's limits on the class
           plaintiffs'age and on the basesfortheirHELOC suspensions,and by expanding
           the classperiod from overthree m onthsto overthree years.
    Id The courtfbund thatthe tdvastaugmentation ofthe putativeclass''altered the litigation such

    thatSunTrustshould havebeen allowed to rescind itswaiver.Id at1204.

           In Collado,the Eleventh Circuitfbund thatthe defendanthad notwaived its arbitration

    rights as to the newly asserted state 1aw claim s because the defendant's waiver ofthe rightto

    arbitrate the FLSA claim did nottûextend to the state law claim sthatwere pleaded forthe tsrst

    time aûerJ&G had litigated to thepointofwaiverthe FLSA claim .'' 820 F.3d 1261. The court

    made clearthatkia defendantwillnotbe held to have waived the rightto insistthatpreviously

    unasserted claim sbearbitrated once they areasserted.''1d.

           Heresthe certification of the class has not changed the scope or theory of the case. As

    addressed abovesthesecaseshave alwaysbeen treatedbya1lpartiesasa majorclasslitigation.
    The casenow,afterclasscertification,raisesthe sam eclaims,underthe same theories,thathave
    been asserted since 2008. The certification ofthe class does notundo W achovia's w aiverof its

    arbitration rights.

           C.      W achovia's M otion Is U ntim elv.

           W achovia's Class Arbitration M otion should also be denied because it is untim ely.

    Courtshavetheinherentauthority to adoptarbitration-related deadlines.See Garcia,699 F.3d at

    1277. Such deadlines furtherthe efficiency-related goalsof the FA A . Concepcion,563 U .S.at

    343 (Congress intended for the FAA kito facilitate stream lined proceedings''and promote i'the
    efficientandexpeditiousresolution ofclaims''). Theauthority ofthisCourtto setdeadlinesand
    otherw ise eftsciently m anage the litigation is particularly critical because this is an M D L

    proceeding. See DE 2224 at6-7.
                                                   16
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           Here,this Courttwice entered orders comm anding defendants,including W achovia,to

    assertany arbitration rights. DE 134,360. Nonetheless,W achovia twice declined to m ove for

    arbitration. In response to the second order, W achovia even confirm ed that itdid notseek

    arbitration againstanyoneexceptpossibly one newly added Plaintiff. DE 387;see also DE 2224

    at 5 (holding that Bank ççaffirmatively decided not to assert arbitration by the deadlines

    establishedbytheCou14'').
           W achovia suggeststhattheseordersonly setdeadlinesforarbitration m otionsagainstthe

    named Plaintiffs,as opposed to the urmamed class members. However,the language of the

    ordersisnotso contsned. Indeed,thesecond orderbroadly comm andsthatilany party wishing to

    eitherjoin inorfileasupplementalmotionforarbitration shalldo soonthetimeframesetforth
    herein.'' See DE 360. This Courtdid notm ake any exceptions or give any indication thatthis

    directive applied solely to named lllaintiffs-4 Indeed, given thatthe arbitration clause atissue is

    the same forthe named Plaintiffs and al1unnam ed class m embers,there is no good cause for

    W achovia'sfailureto comply withthesedeadlines.See DE 4183 at3 n.2 (admitting arbitration
    clauseisthesamefornamed Plaintiffsandunnamedclassmembers).TheBank'spositionthatit
    could nothave moved earlier because the unnamed class m em bers are nottechnically parties

    priorto certification isfatally undercutnotonly by precedent,butalso by the factthatthe Bank

    did t5le an arbitration motion ast()the unnamed classm embersprior to certification. See DE

    3292 (conditionally motion for arbitration against unnamed class members). The Spears-
    Haymond decision held only that a decision on arbitration as to the class had to await



    4ThefailuretomakesuchadistinctionisnotsuyrisinggiventhatFederalRule23empowers
    courtsto protectclassmembers'rightspriortocertlfication.f.g.,Fed.JudicialCt1-.,Manualfor
    Ct//?7yp/exfitig.j21.12(4thed.2004);Lucero v.Bureau ofcollection Recovery,Inc.,639 F.3d
    l239,1249 (10thCir.2011)(itanascentinterestattachestotheproposed classuponthefiling of
    aclasscomplaint'').
                                                    17
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    certification,notthatthis Courtcould not demand an earlier notice of W achovia's intentions.

    Further,for similar reasons addressed above as to waiver,W achovia's failure to tim ely seek

    arbitration asto the nam ed Plaintiffsdoes implicate the class. Because W achovia'sm otion has

    been filed long afterthe deadlinesestablished by thisCourt,itisuntimelyand mustbedenied.

                                        111. CONCLUSIO N

           Accordingly,itisO R D ERE D,A DJU D G ED ,and D ECR EED thatDefendantW achovia

    Bank,N .A.'SM otion to Dism issAt1Claim sofUnnamed ClassM embersin FavorofArbitration

    (DE 4183)sledbyDefendantW achoviaBank,N.A.be,andthesameishereby,DENIED.
           DONE AND ORDERED in Cham bersatthe JamesLawrence King FederalCourthouse,

    M iam i-Dade County,Florida,this 17th day ofOctober,2016.




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                                                 ...
                                                         A          JA M ES LAW N C E K IN G  .'
                                           /
                                            v  z''                NITED STATES DISTRICT JUDGE
                                                                 SOUTHERN DISTRICT OF FLORI A


    cc; A l1CounselofRecord
